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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION



                                   CASE NO.: 1:22-cv-22030-BB




 JESUS GONZALEZ,

         Plaintiff,
 v.

 SOFIA SUBWAY CORP.
 d/b/a Subway #52931 at 2962 SW 8 Street and
 8TH STREET SHOPPING CENTER LLC


       Defendant.
 __________________________________/

                       NOTICE OF SETTLEMENT FOR ALL PARTIES

         Plaintiff, JESUS GONZALEZ (“Plaintiff”), hereby files this Notice of Settlement, and

 informs the Court as follows:


      1. Plaintiff has reached an agreement with Defendant, SOFIA SUBWAY CORP.

         d/b/a Subway #52931 at 2962 SW 8 Street and 8TH STREET SHOPPING CENTER

         LLC (“Defendant”) to resolve his claim against them.

      2. The parties are in the process of finalizing a confidential settlement agreement, and

         Plaintiff will be filing a Stipulation of Dismissal with the Court shortly.



                                                Respectfully submitted,
                                                /s/ J. Courtney Cunningham
                                                J. Courtney Cunningham, Esq.
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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 6, 2022, I electronically filed the foregoing
 document with the Clerk of the Court using the CM/ECF system.

                                        /s/ J. Courtney Cunningham
                                        J. Courtney Cunningham, Esq.




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